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 Engels J. Tejeda (USB #11427)
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 Attorneys for St. Luke’s Health System, Ltd.,
 St. Luke’s Regional Medical Center, Ltd.,
 Chris Roth, Natasha D. Erickson, M.D.
 and Tracy Jungman, NP


                       THE UNITED STATES BANKRUPTCY COURT
                                 DISTRICT OF UTAH


         In re:
                                                     Bankruptcy No. 24-23530 WTT
         Ammon Edward Bundy
                 Debtor(s).                          Chapter 7

                                                     Hon. William T. Thurman


                  MOTION FOR ADMISSION PRO HAC VICE AND CONSENT
                     OF DESIGNATED ASSOCIATE LOCAL COUNSEL


       I, Bejamin D. Passey, hereby move the pro hac vice admission of applicant to practice in

this Court. I hereby agree to serve as designated local counsel for the subject case; to readily

communicate with opposing counsel and the Court regarding the conduct of this case; and to

accept papers when served and recognize my responsibility and full authority to act for and on

behalf of the client in all case-related proceedings, including hearings, pretrial conferences, and

trials, should applicant fail to respond to any Court order.
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    Dated this 21st day of August, 2024.

                                           HOLLAND & HART LLP

                                           /s/ Benjamin D. Passey
                                           Bejamin D. Passey
                                           Utah Bar Number 19324

                                           Attorneys for St. Luke’s Health System, Ltd.,
                                           St. Luke’s Regional Medical Center, Ltd.,
                                           Chris Roth, Natasha D. Erickson, M.D.
                                           and Tracy Jungman, NP




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                       APPLICATION FOR ADMISSION PRO HAC VICE

       Applicant, Erik F. Stidham, hereby requests permission to appear pro hac vice in the

subject case. Applicant states under penalty of perjury that he is a member in good standing of

the bar of the highest court of a state or the District of Columbia; is (i) a non-resident of the state

of Utah and, under DUCivR83-1.1(d) and Local Rule 2090-1, has associated local counsel in this

case. Applicant’s address, office telephone, fax number, e-mail address and the courts to which

admitted, and the respective dates of admission are provided as required.

       Applicant designates Benjamin D. Passey as associate local counsel.

       Dated: August 21, 2024


                                       /s/Erik F. Stidham
                                       Erik F. Stidham




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           APPLICATION FOR ADMISSION PRO HAC VICE, CONTINUED

Name of Applicant: Erik F. Stidham
Business Address: Holland & Hart LLP, 800 West Main Street, Suite 1750, Boise, ID 83702
Telephone: (208) 342-5000
E-mail Address: efstidham@hollandhart.com

                               BAR ADMISSION HISTORY

COURTS TO WHICH ADMITTED                    LOCATION                DATE OF ADMISSION

USDC, District of Idaho                     Idaho                   9/26/1996
USDC South Dist. of California              California              1/30/2013
USDC North Dist. of California              California              12/12/1995
USDC Eastern Dist. of California            California              12/12/1995
Ninth Circuit                               California              9/1/1993
Idaho Supreme Court                         Idaho                   9/26/1996

                     (If additional space is needed, attach separate sheet.)

              PRIOR PRO HAC VICE ADMISSIONS IN THIS DISTRICT

CASE TITLE                   CASE NUMBER                            DATE OF ADMISSION

                                    None




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              CERTIFICATE OF SERVICE BY MAIL OR OTHER MEANS

        I HEREBY CERTIFY that on this 21st day of August, 2024, I caused the foregoing
MOTION FOR ADMISSION PRO HAC VICE AND CONSENT OF DESIGNATED
ASSOCIATE LOCAL COUNSEL to be filed electronically through the CM/ECF system,
which caused the following parties or counsel to be served by electronic means, as more fully
reflected on the Notice of Electronic Filing:

        Mark C. Rose
        McKay, Burton & Thurman, P.C.
        trustee@mbt-law.com

        U.S. Trustee
        USTPRegion19.SK.ECF@usdoj.gov
        Ammon E. Bundy
        896 E 400 S
        New Harmoney, UT 84757; and

AND I FURTHER CERTIFY that on such date I served the foregoing on the following non-
CM/ECF Registered Participants by U.S. First Class Mail and/or e-mail as indicated:
By U.S. First Class Mail – postage prepaid:

        Ammon Edward Bundy, pro se
        P.O. Box 1062
        Cedar City, UT 84721

        Ammon Edward Bundy
        896 E 400 S
        New Harmoney, UT 84757

        By E-Mail:

        Ammon E. Bundy
        aebundy@bundyfarms.com


                                            /s/ Benjamin D. Passey
                                            Benjamin D. Passey
32459651_v1




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